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                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


ROBERT DEAN BLAUROCK,

                               Petitioner,

            v.                                         CASE NO. 21-3231-SAC

STATE OF KANSAS, et al.,


                               Respondents.


                           MEMORANDUM AND ORDER



      On September 24, 2021, Petitioner filed a petition for writ of
habeas corpus pursuant to 28 U.S.C. § 2254. (Doc. 1.) On September

28, 2021, the Court dismissed the petition as an unauthorized second

or successive petition, over which it lacked jurisdiction. (Doc.

3.) On October 15, 2021, Petitioner filed a motion for certificate

of   appealability    (Doc.   5),   a   motion   and    application   for   an

authorization order (Doc. 6), and a notice of appeal from the

judgment (Doc. 7), after which the appeal was docketed in the United

States Court of Appeals for the Tenth Circuit (Doc. 9).

      Petitioner’s motion for certificate of appealability (Doc. 5)

and motion and application for an authorization order (Doc. 6) are

denied. First, Petitioner asks the Court for a certificate of

appealability (COA) so that he may seek relief in the Tenth Circuit.

(Doc. 5.) The Court dismissed this matter for lack of jurisdiction

and it declined to issue a COA with its dismissal, “concluding that

its ruling in this matter is not subject to debate among jurists of

reason.” (Doc. 3, p. 3-4.) Petitioner’s motion for certificate of

appealability acknowledges that he filed a successive petition
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without first obtaining the required authorization, but appears to

contend that because the petition alleges meritorious claims, the

Court should issue a COA. (Doc. 5.) Regardless of whether the claims

have merit, however, this Court lacks jurisdiction to consider an

unauthorized successive habeas petition and Petitioner has not

shown that this conclusion is subject to debate among jurists of

reason. Accordingly, the motion is denied.

      In his remaining motion, Petitioner asks the Court to grant
his application for an order authorizing him to file a second or

successive petition. (Doc. 6.) As noted in the order of dismissal,

the decision whether to authorize a successive § 2254 petition

belongs to the Tenth Circuit, not this Court. (Doc. 3, p. 3.) Any

application for authorization of a second or successive § 2254

petition must be filed in the Tenth Circuit.1

      IT   IS   THEREFORE    ORDERED     that   Petitioner’s     motion    for

certificate of appealability (Doc. 5) and motion and application

for an authorization order (Doc. 6) are denied.


      IT IS SO ORDERED.

      DATED:    This 18th day of October, 2021, at Topeka, Kansas.




                                    S/ Sam A. Crow

                                    SAM A. CROW
                                    U.S. Senior District Judge




1 The mailing address for the Tenth Circuit is The Byron White U.S. Courthouse,
1823 Stout Street, Denver, CO 80257.
